                 Case 20-23346-PDR              Doc 33       Filed 12/09/20        Page 1 of 4




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov

In re:

TAMARAC 10200, LLC and                                        Case No. 20-23346-PDR
UNIPHARMA, LLC,                                               Case No. 20-23348-PDR

         Debtors1.                                            Chapter 11 Cases
                                                              (Jointly Administered)
___________________________________ /


                            NOTICE OF APPEARANCE AND
                     DEMAND FOR SERVICE OF NOTICES AND PAPERS

         PLEASE TAKE NOTICE that the attorneys set forth below hereby appear on behalf of the

DIP Lender, the Senior Secured Lender, and the Stalking Horse Bidder (collectively, the “DIP

Lender, First Lien Lender & Stalking Horse Bidder”), and demand, pursuant to Rules 2002,

9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

Sections 1109(b) and 342 of Title 11 of the United States Code, as amended, that all notices given

in the above-captioned cases and all papers served or required to be served in the above-captioned

cases be given to and served upon the undersigned counsel at the addresses set forth below:2

 Stacy Nettleton (pro hac vice pending)                    Edward Soto
 Jonathan D. Polkes (pro hac vice pending)                 Lauren Z. Alexander
 Ray C. Schrock, P.C. (pro hac vice pending)
 Alexander W. Welch (pro hac vice pending)
 WEIL, GOTSHAL & MANGES LLP                                WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue                                          1395 Brickell Avenue, Suite 1200
 New York, NY 10153                                        Miami, FL 33131
 Telephone: (212) 310-8000                                 Telephone: (305) 577-3100
 Facsimile: (212) 310-8007                                 Facsimile: (305) 374-7159

    1
     The last four digits of each Debtor’s federal tax identification number are Tamarac 10200, LLC (2050) and
    Unipharma, LLC (8962). The address of the Debtors is 10200 N.W. 67th Street, Tamarac, FL 33321.

    2
      Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the various
    first-day pleadings.
               Case 20-23346-PDR           Doc 33      Filed 12/09/20    Page 2 of 4




 Email: stacy.nettleton@weil.com                      Email: edward.soto@weil.com
        jonathan.polkes@weil.com                             lauren.alexander@weil.com
        ray.schrock@weil.com
        alexander.welch@weil.com

       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules, but also includes, without limitation, orders

and notices of any application, motion, petition, pleading, request, complaint, or demand, whether

formal or informal, whether written or oral and whether transmitted or conveyed by mail, delivery,

telephone, electronic mail or otherwise.

       PLEASE TAKE FURTHER NOTICE that this appearance and demand for notice is neither

intended as nor is it a consent of the DIP Lender, First Lien Lender & Stalking Horse Bidder to

the jurisdiction and/or venue of the Bankruptcy Court nor, specifically, but not limited to, a waiver

of (i) the DIP Lender, First Lien Lender & Stalking Horse Bidder’s right to trial by jury in any

proceeding so triable herein, or in any case, controversy or proceeding related hereto, (ii) the DIP

Lender, First Lien Lender & Stalking Horse Bidder’s right to have an Article III judge adjudicate

in the first instance any case, proceeding, matter or controversy as to which a bankruptcy judge

may not enter a final order or judgment consistent with Article III of the United States Constitution,

(iii) the DIP Lender, First Lien Lender & Stalking Horse Bidder’s right to have the reference

withdrawn by the District Court in any case, proceeding, matter or controversy subject to

mandatory or discretionary withdrawal or (iv) any other rights, claims, actions, defenses, set-offs,

or recoupments to which the DIP Lender, First Lien Lender & Stalking Horse Bidder is or may be

entitled to under any agreement, in law, or in equity, all of which rights, claims, actions, defenses,

set-offs, and recoupments the DIP Lender, First Lien Lender & Stalking Horse Bidder expressly

reserves.




                                                  2
            Case 20-23346-PDR   Doc 33    Filed 12/09/20    Page 3 of 4




Dated: December 9, 2020
                                         /s/ Edward Soto
                                         Edward Soto (No. 265144)
                                         Lauren Z. Alexander (No. 58044)
                                         WEIL, GOTSHAL & MANGES LLP
                                         1395 Brickell Avenue, Suite 1200
                                         Miami, FL 33131
                                         Telephone: (305) 577-3100
                                         Facsimile: (305) 374-7159
                                         Email: edward.soto@weil.com
                                                lauren.alexander@weil.com

                                         - and -

                                         Stacy Nettleton (pro hac vice pending)
                                         Jonathan D. Polkes (pro hac vice pending)
                                         Ray C. Schrock, P.C. (pro hac vice pending)
                                         Alexander W. Welch (pro hac vice pending)
                                         WEIL, GOTSHAL & MANGES LLP
                                         767 Fifth Avenue
                                         New York, NY 10153
                                         Telephone: (212) 310-8000
                                         Facsimile: (212) 310-8007
                                         Email: stacy.nettleton@weil.com
                                                  jonathan.polkes@weil.com
                                                  ray.schrock@weil.com
                                                  alexander.welch@weil.com

                                         Attorneys for DIP Lender, First Lien Lender & Stalking
                                         Horse Bidder




                                     3
              Case 20-23346-PDR         Doc 33   Filed 12/09/20     Page 4 of 4




                                CERTIFICATE OF SERVICE

       I, Edward Soto, hereby certify that on December 9, 2020 I caused a copy of the foregoing

Notice of Appearance and Demand for Service of Notices and Papers to be served upon the

following parties in the manner indicated.

Via Hand Delivery
Guy A. Van Baalen
OFFICE OF THE UNITED STATES TRUSTEE
51 S.W. 1st Ave., Suite 1204
Miami, FL 33130

Via Hand Delivery
Christopher A Jarvinen
Paul Steven Singerman
BERGER SINGERMAN LLP
1450 Brickell Avenue, Suite 1900
Miami, FL 33131



                                                                /s/ Edward Soto
                                                          Edward Soto (No. 265144)
